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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________

 ANDREW R. PERRONG
 1657 THE FAIRWAY #131
 JENKINTOWN, PA 19046

                 Plaintiff
                                                         Case No. 2:22-cv-02628-GJP
 vs.

 PERSONAL INJURY LEAD GENERATOR                          JURY TRIAL DEMANDED

         Defendant.



                             RESPONSE TO SHOW CAUSE ORDER

       Plaintiff respectfully submits this response to this Court’s Order to Show Cause (ECF No.

7). As the Court is aware, on July 28, 2022, the Court entered an order permitting the Plaintiff

leave to serve a third-party subpoena to identify the caller responsible for the calls at issue in this

case. The subpoena contemplated by this order was duly served upon Commio, the telephone

provider at issue in this case which was identified as having been the service provider for the

customer that sent the text messages, shortly thereafter. Commio responded to Plaintiff’s

subpoena on August 11, 2022, identifying Chase Data Corporation as its customer that sent the

text message, and also identified that another company, SMSEdge, provided the text messaging

telephone services for the text messages at issue. SMSEdge is a bulk telephone service provider

and marketing platform based in Israel. The exact relationship between SMSEdge and Chase

Data is unclear at this point, but it appears that Chase Data licenses some of its services from

SMSEdge, which it then resells to illegal call centers branded as its own platform.




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       On September 7, 2022, Chase Data, who operates a turnkey illegal telemarketing

platform through its sister company Dialed In Inc., was served with a subpoena requesting the

identity of its customer(s) for the three telephone numbers at issue here, pursuant to the Court’s

order and in light of the response provided by Commio. The return of service of the subpoena on

Chase Data is attached herein as Exhibit A. Despite servicing the numbers at issue and providing

bespoke turnkey marketing services for its customers, including by selling its end users the

dialing platform used to place the calls, Chase Data refused to respond to the subpoena.

       Plaintiff received no response from Chase Data for several months. In so doing, Chase

Data affirmatively took steps to shield its customer from direct TCPA liability for the services it

purchased from Chase Data. As he essentially hit a dead end because Chase Data refused to

respond to a lawful subpoena and identify its customer, the case was buried and Plaintiff did not

take any further action until this Court issued its Order to Show Cause.

       To rectify the Order to Show Cause and move this case forward, Plaintiff desires to

amend the complaint in this action, provided that the Court grants leave to do so, as the time to

serve the Defendants in this case has expired. The proposed amended complaint, attached herein

as Exhibit B, names Chase Data, Dialed In, and their joint owner under a theory of vicarious

platform liability under the TCPA. The Plaintiff assures this Court that, if granted leave to

amend, he will promptly serve these new Defendants and move this case forward expeditiously.

                                         CONCLUSION

       For the foregoing reasons, the Court should discharge its Order to Show Cause and enter

an order granting Plaintiff leave to amend the complaint in the form of Exhibit B.




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Dated: September 27, 2023

                                                _______________________/s/_______________
                                                                         Andrew R. Perrong
                                                                             Plaintiff Pro-Se
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                                                                      Jenkintown, PA 19046
                                                                       Phone: 215-791-6957
                                                                    Facsimile: 888-329-0305
                                                                   andyperrong@gmail.com


                                CERTIFICATE OF SERVICE

       Plaintiff certifies that on September 27, 2023, he filed the foregoing on the Court’s

Electronic Document Submission (EDS) system for pro-se litigants.



Dated: September 27, 2023

                                                _______________________/s/_______________
                                                                         Andrew R. Perrong
                                                                             Plaintiff Pro-Se
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